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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

DIANNE BUCCERI, JANET CHARAK,
and LISA SANDERS, on behalf of
themselves and all other similarly situated,

Plaintiffs, CIVIL ACTION NO. 1:15-CV-13955
Vv.

CUMBERLAND FARMS, INC.

Defendant.

 

[PREPSSED| ORDER APPROVING FAIR LABOR STANDARDS ACT SETTLEMENT,
SERVICE AWARDS, AND ATTORNEYS’ FEES AND COSTS

This matter came before the Court on Plaintiffs’ Unopposed Motion For Approval Of The
the Fair Labor Standards Act Settlement (“Motion”), the Declaration of Michael Palitz In Support
of the Motion, the Declaration of Sam J. Smith In Support of the Motion, and supporting exhibits

thereto.

Upon review of the Motion and its attendant exhibits, and being fully advised as to the
Action, it is hereby ORDERED:

l, The Court hereby grants final approval of the The Settlement Agreement, Release
and Waiver, attached to the Declaration of Michael Palitz In Support of the Motion as Exhibit A
(“Settlement Agreement”), finding that its terms are fair, reasonable, and adequate, and that it
constitutes a fair and reasonable resolution of a bona fide dispute under the federal Fair Labor
Standards Act, 29 U.S.C. § 201, et seg. (“FLSA”).

2. The Court acknowledges that the Settlement Agreement is not an admission by
Defendant or by any other Released Party of wrongdoing. Neither this Order, the Settlement

Agreement, nor any document referred to herein, nor any action taken to carry out the Settlement,
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may be construed as, or may be used as, an admission of any fault, wrongdoing, omission,
concession, or liability whatsoever by or against Defendant or any of the Released Parties (as
defined in Paragraph 1 of the Settlement Agreement).

3. Having reviewed Paragraphs 2, 3 and 6 of the Settlement Agreement, the Court
hereby approves the monetary distributions and tax implications thereof as fair and reasonable,
including as follows:

a. The Court hereby approves the One Million Three Hundred Thirty
Thousand Dollars ($1,330,000.00) settlement. The proportion of the settlement allocated to the
Plaintiffs, Four Hundred Twelve Thousand Dollars ($412,000.00) (the “Net Settlement Amount”)
represents a reasonable percentage of their lost wages as alleged by the Plaintiffs. The proposed
allocation of the settlement among Plaintiffs is also reasonable. It reflects a proportion of alleged
damages owed to Plaintiffs based on the number of weeks they worked for Defendant as Legacy
Store Managers and worked overtime hours, which is a reasonable approximation of each
Plaintiffs’ alleged damages. Settlement avoids risks as to both liability and damages, and the
settlement followed extensive formal discovery and arm’s-length negotiations with the assistance
of an experienced mediator.

b. Service payments in the amount of $2,000 to each of the Named Plaintiffs
(Dianne Bucceri and Lisa Sanders) and Phase I Plaintiffs (Janet Charak,! Anthony Marquette,
Chad LaCasse, Stephanie Burdick, Michael Jalbert, Robert Herrick, and Gregory Mitchell) for a
total of $18,000 for their work on behalf of the other Plaintiffs are approved. Incentive awards
serve the important purpose of compensating plaintiffs for the time and effort expended in assisting

the prosecution of the litigation, the risks incurred by becoming and continuing as a litigant, the

 

1 Janet Charak is also a Named Plaintiff.
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public nature of a collective action filing, and any other burdens they sustain. The Court finds the
Named Plaintiffs and Phase I Plaintiffs protected the interests of the other opt-in Plaintiffs by
taking actions that resulted in a substantial benefit. The Named Plaintiffs participated in a pre-suit
investigation, provided information and documents crucial to establishing Plaintiffs’ claims, and
the Phase I Plaintiffs participated in formal written discovery, produced documents that aided the
litigation, sat for depositions, and prepared for trial. The Named Plaintiffs and Phase I Plaintiffs
together played a crucial role in the parties’ ability to reach an agreed-upon resolution of this
case.Accordingly, the Court approves service payments for Named Plaintiff and Phase I Plaintiffs.
The service payments shall be in addition to any other monetary benefits these Plaintiffs are to
receive under the Agreement.

c. Plaintiffs’ Counsel requests $900,000 as an award of fees, costs, and
litigation expenses. Plaintiffs’ Counsel’s requested fee award and reimbursement of costs and
litigation expenses is reasonable in light of the substantial benefit their efforts conferred on the
Plaintiffs over five years of adversial litigation. The Court also recognizes the fee requested is
significantly less than Plaintiffs’ Counsel’s lodestar, based on reasonable hours expended and
rates, was negotiated separately after the underlying amount was settled for the Plaintiffs, and does
not reduce the settlement payments for the Plaintiffs. Accordingly, Plaintiffs’ Counsel’s request
for fees and costs is approved.

4. Having reviewed Paragraph 7 of the Settlement Agreement, the Court hereby
approves the language and scope of the Release and related procedural provisions therein as fair
and reasonable in light of the claims in this litigation and the monetary distributions as discussed

and approved in Paragraph 3, supra.
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5. If no individual or party appeals this Order, the “Effective Date” of the Settlement
Agreement will be on the later of (i) thirty (30) calendar days after the Court issues this order
approving the settlement and such order is entered on the docket in the Action/Lawsuit if no appeal
of that order is filed within that thirty (30) day period, or (ii) if an appeal is filed, ten (10) calendar
days after the approval order has been affirmed and approved in its entirety with no further right
of appeal or review.Plaintiffs’ Counsel will continue in their role to oversee all aspects of the
Settlement Agreement, as contemplated therein.

6. The Court hereby enters a judgment of dismissal, pursuant to Fed. R. Civ. P. 41(a),
of the claims of each of the Plaintiffs (as defined in page 1 of the Settlement Agreement), all with
prejudice and without costs (except as specified in this Order above).

7h
It is so ORDERED this Y day of 724 ,2020.

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Honorable Indira Talwani
United States District Judge
